Case 14-31229-sgj15   Doc 201-2 Filed 03/02/21 Entered 03/02/21 14:08:20   Desc
                             Exhibit B Page 1 of 3



                                 Exhibit B
Case 14-31229-sgj15   Doc 201-2 Filed 03/02/21 Entered 03/02/21 14:08:20   Desc
                             Exhibit B Page 2 of 3
Case 14-31229-sgj15        Doc 201-2 Filed 03/02/21 Entered 03/02/21 14:08:20                            Desc
                                  Exhibit B Page 3 of 3
    Reference Purpose Only




                                                    [Translation]

    2017 (sai) No. 35, In the Matter of a Petition for Commencement of Rehabilitation Proceedings




                                                    Decision

           Rehabilitation Debtor: MtGox Co., Ltd.


           1.   With respect to the proceedings, the draft rehabilitation plan shall be resolved by a vote of the
                voting rights holders.
           2.   The voting rights shall be exercised through the method selected by the voting rights holders
                between the method of exercising the voting rights on the date of the creditors’ meeting as
                described in the following paragraph and the method of exercising the voting rights by mail as
                described in paragraph 4.
           3.   The creditors’ meeting shall be held at the Tokyo District Court at 2 p.m. on October 20, 2021.
           4.   The voting period for exercising voting rights by mail shall be until October 8, 2021.
           5.   In the case of a non-uniform exercise of voting rights, the deadline for giving notice shall be
                September 10, 2021.
           6.   The record date for determining voting rights holders shall be March 24, 2021.


           February 22, 2021

                 Tokyo District Court, 20th Civil Division
                                                  Chief Judge: Yasushi Taniguchi


                                                          Judge: Hiroya Kikuchi


                                                          Judge: Hayato Horiuchi

    This is an authenticated copy of the Decision    .
           February 22, 2021
                  Tokyo District Court, 20th Civil Division
                        Court Clerk: Hideki Shibata
